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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________   of Massachusetts
                                                                           of __________

                  United States of America                            )
                             v.                                       )     Case No. 21-mj-3063 (KAR)
                     BENJAMIN SHACAR                                  )
                                                                      )
                             Defendant                                )

                                         ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

Place: U.S. District Court                                                 Courtroom No.: Virtual Courtroom
         300 State Street
         Springfield, MA 01105                                             Date and Time: 3/31/2021 at 12:00 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:           3/25/2021                                                                  /s/ Katherine A. Robertson
                                                                                                Judge’s signature


                                                                            Katherine A. Robertson, U.S. Magistrate Judge
                                                                                              Printed name and title
